Re: Character Reference for Johnnie E. Martin


Dear Judge Thomas A. Varlan,


      My name is Jamille D. Starks. I’m writing to provide a character
reference for Johnnie E. Martin who is my cousin and whom I have
known for 45 years. I’m aware of the charges that he is currently in
prison for and his current request for compassionate release, and I
believe that it important that I share my perspective on his character,
conduct and the support system that he has waiting for him upon his
release.
       With respect to the current state of Johnnie’s character. I would say
that they reflect qualities any man of sound mind would hope that they
themselves, their son and son in law would possess. I would be shocked
and surprised if not all the letters submitted to you your honor do not
have a resounding theme reflecting such. Johnnie’s character exhibits
traits like honesty, integrity, responsibility, compassion, kindness,
fairness, respect, loyalty, courage, perseverance, self-discipline,
empathy, a strong sense of justice and a great concern for the well-being
of others. Before and during his incarceration Johnnie and I have had
many conversations and some of them had been difficult ones,
nevertheless he had always provided honest and sound feedback. One
example that sticks out is a situation that pertained to a custody
agreement of my oldest daughter eleven years ago. He told me that I
agreed to the terms because it was the path of least resistance. He had
offended me greatly with his statement. Despite him knowing that it
would he was propelled to say such. He had to be transparent and honest
and was willing to accept the reaction such would bring. His statement


                                                                               1
  Case 3:07-cr-00051-TAV-HBG   Document 967-2   Filed 03/27/25   Page 1 of 6
                               PageID #: 9042
challenged me to look deeper into that decision I made and guess what
despite my good intentions in such he was right. I was tired of the back-
and-forth legal battles and agreed to what I thought was a fair but not
necessary the best custody agreement I could have made. Another
example highlighting the characteristics of Johnnie is the work that he is
doing at USP Pollock where he is currently being held at. Him along
with a few other inmates and prison staff have been working together to
reduce the violence there. There has been a lot of success with such
especially in the unit he resides. They have taught their fellow inmates
the skills to settle disputes without the means of violence. The results
have been astounding, and the inmate-to-inmate violence has drastically
been reduced. One of the characteristics traits that I listed above that
Johnnie posses (a strong sense of justice) is one that I’m happy to
witness him utilize and the way he inspires others to add such as a
personal attribute. From one conversation that he had with my 17-year-
old daughter Trinity, who in the fall will be headed off to college to start
her journey to become a human rights attorney. He motivated her to not
wait until she became an attorney to make a difference in the lives of
others but rather start now. She is doing just that! I’m happy to state that
she had started a non-profit. It’s named Literacy and Justice 4 All. It’s a
nonprofit organization committed to combating systemic racism within
underprivileged communities. She seeks to address the link between low
literacy rates and incarceration through education and book drives.
Johnnie has displayed a great concern for the well-being of others by
donating funds to numerous organizations. I don’t know them all, but I
do know of someone. He has donated money to assist women living in
sober homes in Tennessee, college students to pay for their books and
during the pandemic to emergency response workers. I’m sure there is
more, these are just the ones that I personally know of. What I



                                                                               2
  Case 3:07-cr-00051-TAV-HBG   Document 967-2   Filed 03/27/25   Page 2 of 6
                               PageID #: 9043
mentioned above is just some of examples illustrating Johnnie’s
character attributes.
       Your honor as you can see from all the letters of support and
reports from the prison’s Johnnie is nothing like the man that stood
before you 18 years ago. Although you sentenced him to 720 months, he
did not sit in prison waddling in self-pity, anger and bitterness. No, he
did the exact opposite he used the time in prison to first make amends
with himself, his family and his community for his past actions. Once he
did that, he began on a journey to seek ways to become the best version
of himself he could be. He did not stop there he also challenges his
fellow inmates, family and friends to do the same. Johnnie’s conduct
while incarcerated has been nothing short of immaculate. It is clear to
see from anyone looking Johnnie has made mighty leaps and bounds to
become the man he now is. While in prison he has been an asset there
and a great influence on those on the outside. I have no doubt he will be
an even bigger asset to his family, fellow peers and community once he
is release from prison.
      Your honor I too stood before you 18 years ago and you had
sentence me to 36 months. I, like Johnnie, had taken a good look at
myself in the mirror and decided that the person that I see in the
reflection is not the person I desire to continue to be. In fact, I never
wanted to become the person that landed me in front of you as a
defendant in a criminal case. When I was a kid and asked what I wanted
to become when I got older, a drug dealer was never my response. My
response was a doctor and a lawyer. However, life circumstances and
bad decisions led me down a different path. I, like Johnnie, had taken the
time in prison to become a better version of myself. I will not say I’m a
complete product because I believe that the road of self-betterment is a
lifelong journey. However, with a lot of self-reflecting and hard work


                                                                               3
  Case 3:07-cr-00051-TAV-HBG   Document 967-2   Filed 03/27/25   Page 3 of 6
                               PageID #: 9044
I’m proud of the results thus far. The first step to my transformation was
dedicating my life to follow the ways of my Lord and Savior Jesus
Christ. I had to reprogram my way of thinking, how I viewed the world
and how I perceived it viewed me. I was released from prison a few
months short of 16 years ago. I whole heartedly thank you for sending
me to prison. Since my release I have been an asset to my family, church
and community. In August I will be married for 14 years. We have four
children whom we are raising. Me and my wife have created a loving
and supportive home. At our local church Full Gospel Tabernacle, me
and my wife are the youth leaders. We help the youth to foster a great
relationship with God and help them navigate through their everyday
living. At my church I’m also a part of the Pastor’s Aid committee. We
work closely with the Pastor to assist in any way to help with the
ministry. At my church’s food pantry, I assist in feeding 400 to 500
needy families each month. I also mentor youth throughout my city.
Since my release from prison, I have been using sports as a vehicle to
engage with the youth in which I install great morals and principals in
them on and off the field. I have witnessed first-hand how love, support
and compassion make a difference in their lives. Countless of parents,
school employees and members of my community have expressed their
gratitude for the work I’m doing with the youth. I had received an
award from former Mayor Bill Carpenter for my service in my
community of Brockton, MA.
      When I first got release from prison, I was happy to be freed, but I
was also sad. I was celebrating my release from prison while my cousin
Johnnie was in prison serving a 60-year sentence. I had prayed and
asked God why did he allow me to get 3 years in prison but allowed
Johnnie to get 60 years. God answered and said that I only needed 3
years to change, Johnnie needed more. The thing that brought comfort to
me was that God didn’t say that Johnnie needed 60 years to change he

                                                                               4
  Case 3:07-cr-00051-TAV-HBG   Document 967-2   Filed 03/27/25   Page 4 of 6
                               PageID #: 9045
simply said he need more. Well, your honor he did more,15 more years
than my 3 and I believe now is the appointed time for Johnnie to release.
      The same tools and resources that I relied upon and so much more
are available to Johnnie upon his release. Johnnie has more than his
family waiting for his release. He has a whole community of people on
standby to support him in their fields of their specialty. To name a few
he has our church Full Gospel Tabernacle. Our Pastor and the members
of the church who have been praying earnestly for his release. To help
with his transition from prison to civilian life he has Dr. Moseley. She is
a psychologist who specializes in family therapy and traumatic
exposures. He has a support group that I am a part of named Breaking
Through Roadblocks. It’s a collation of men in our community that meet
once a month. We gather to share ideas, beliefs and resources to aid each
other on our quest to be successful in every aspect of our lives. He has
Marquis Taylor who is the CEO and Co-Founder of Coaching 4 Change.
Coaching 4 Change is an organization that supports high-need K-12
students with academic and social-emotional learning in urban and
gateway communities. Upon his release Johnnie will be working here in
the fundraising department. Given the work Johnnie has done already
plus the support of many people who are the pillars of our community
greater thing are on the horizon.
      As I close out this letter, I be remiss if I did not ask you to please
allow your character attribute of having a strong sense of justice show
forth in this matter presented before you now regarding Johnnie E.
Martin. You have shown such attributes throughout your career but more
specifically with respect to the recent cases of LaShonda Hall and Aaron
Brooks. In which you reconsider their sentence and released them from
prison. I respectfully ask that you do it again. Your honor the time that
was originally impose on Johnnie E. Martin was within the guidelines at


                                                                               5
  Case 3:07-cr-00051-TAV-HBG   Document 967-2   Filed 03/27/25   Page 5 of 6
                               PageID #: 9046
the time but was nevertheless draconian. In my opinion and hopefully
yours the 18 years that Johnnie has served thus far has accomplished the
three reasons people are sent to prison. To punish criminals for the
crimes they committed, to serve as a deterrence and rehabilitation.
Johnnie has paid for his crimes during the past 18 years he has done. He
has no desires to commit another crime again. He is a perfect example of
what rehabilitation looks like. I thank you for your time in this matter
and humbly ask that you grant Johnnie with an immediate release.




Sincerely,
Jamille D. Starks




                                                                               6
  Case 3:07-cr-00051-TAV-HBG   Document 967-2   Filed 03/27/25   Page 6 of 6
                               PageID #: 9047
